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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF ARKANSAS, CENTRAL DIVISION

Case number (if known)                                                      Chapter       12
                                                                                                                              Check if this an amended
                                                                                                                               filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Taylor Smith Logging LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  100 S Oak St
                                  Kingsland, AR 71652-9330
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cleveland                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  100 S Oak St Kingsland, AR 71652-9330
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                     Partnership (excluding LLP)
                                     Other. Specify:




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Debtor    Taylor Smith Logging LLC                                                                     Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                1131

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7

     A debtor who is a ³small             Chapter 9
     business debtor´ must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     (whether or not the debtor is a                             cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
     ³small business debtor´) must                               procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                                 (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                 under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                 sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                          Chapter 12

9.   Were prior bankruptcy
     cases filed by or against the
                                        No.
     debtor within the last 8           Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                    Case number
                                                District                                  When                                    Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 2
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Debtor    Taylor Smith Logging LLC                                                                          Case number ( if known )
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                        Relationship
                                                     District                                  When                                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
                                                    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                     Other
                                                    Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                     No
                                                     Yes.      Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                 Funds will be available for distribution to unsecured creditors.
                                                 After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                              1,000-5,000                                  25,001-50,000
    creditors                                                                              5001-10,000                                  50,001-100,000
                                        50-99
                                        100-199                                           10,001-25,000                                More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                        $50,001 - $100,000                                $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                               $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                             $100,000,001 - $500 million                  More than $50 billion

16. Estimated liabilities               $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion

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Debtor   Taylor Smith Logging LLC                                                     Case number ( if known )
         Name

                             $50,001 - $100,000                       $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                           $100,001 - $500,000                        $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                           $500,001 - $1 million                      $100,000,001 - $500 million               More than $50 billion




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Debtor    Taylor Smith Logging LLC                                                                        Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       May 12, 2023
                                                    MM / DD / YYYY


                              X   /s/ Taylor Smith                                                               Taylor Smith
                                  Signature of authorized representative of debtor                               Printed name

                                  Title   President




18. Signature of attorney     X   /s/ William F Godbold IV                                                         Date May 12, 2023
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  William F Godbold IV
                                  Printed name

                                  Natural State Law, PLLC
                                  Firm name


                                  900 S Shackleford, Ste 705
                                  Little Rock, AR 72211
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (501) 916-2878                  Email address         william.godbold@natstatelaw.com

                                  AR2014129
                                  Bar number and State




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B2030 (Form 2030) (12/15)
                                                              United States Bankruptcy Court
                                                        Eastern District of Arkansas, Central Division
 In re        Taylor Smith Logging LLC                                                                       Case No.
                                                                              Debtor(s)                      Chapter       12

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

          FLAT FEE
              For legal services, I have agreed to accept                                                $
              Prior to the filing of this statement I have received                                      $
              Balance Due                                                                                $

              RETAINER
              For legal services, I have agreed to accept and received a retainer of                     $                  5,000.00
              The undersigned shall bill against the retainer at an hourly rate of                   $                          250.00
              [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
              fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:
                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
             firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors regarding valuation of collateral

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtor in dischargeability actions, or any adversary proceeding




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 In re       Taylor Smith Logging LLC                                                               Case No.
                                                            Debtor(s)

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                              (Continuation Sheet)
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 12, 2023                                                            /s/ William F Godbold IV
     Date                                                                    William F Godbold IV
                                                                             Signature of Attorney
                                                                             Natural State Law, PLLC

                                                                             900 S Shackleford, Ste 705
                                                                             Little Rock, AR 72211
                                                                             (501) 916-2878 Fax: (855) 415-8951
                                                                             william.godbold@natstatelaw.com
                                                                             Name of law firm




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                                                               United States Bankruptcy Court
                                                        Eastern District of Arkansas, Central Division
 In re      Taylor Smith Logging LLC                                                                                  Case No.
                                                                                    Debtor(s)                         Chapter         12

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                        Security Class Number of Securities                              Kind of Interest
 business of holder
 Taylor Smith                                                   General                100
 100 S Oak St                                                   Partner
 Kingsland, AR 71652-9330


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date May 12, 2023                                                           Signature /s/ Taylor Smith
                                                                                             Taylor Smith

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                  United States Bankruptcy Court
                                                            Eastern District of Arkansas, Central Division

       IN RE:                                                                                           Case No.
       Taylor Smith Logging LLC                                                                         Chapter 12
                                                             Debtor(s)

                                                            VERIFICATION OF CREDITOR MATRIX
       The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



       Date: May 12, 2023                                    Signature: /s/ Taylor Smith
                                                                          Taylor Smith, President                                  Debtor



       Date:                                                 Signature:
                                                                                                                       Joint Debtor, if any




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     Ark. Dep't of Workforce Services
     Legal Division
     PO Box 2981
     Little Rock, AR 72203-2981


     Bitty Advance
     1855 Griffin Rd # A-474
     Dania, FL 33004-2200


     Capital One Spark Business
     PO Box 30285
     Salt Lake City, UT 84130-0285


     CFG Merchant Solutions
     180 Maiden Ln Fl 15
     New York, NY 10038-4925


     CloudFund LLC
     400 Rella Blvd Ste 165-101
     Suffern, NY 10901-4241


     Department of Finance and Admin.
     Legal Division
     PO Box 1272
     Little Rock, AR 72203-1272


     eAdvance Services
     122 E 42nd St Rm 2112
     New York, NY 10168-2100
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     FBT Bank & Mortgage
     200 W 4th St
     Fordyce, AR 71742-2202


     Gateway Bank
     112 Main St
     Rison, AR 71665


     Internal Revenue Service
     PO Box 7346
     Philadelphia, PA 19101


     Merchant Marketplace
     360 Rxr Plz
     Uniondale, NY 11556-0301


     Regain Group LLC
     1 World Trade Ctr Ste 8500
     New York, NY 10007-0103


     U.S. Attorney, Eastern District of Ark.
     PO Box 1229
     Little Rock, AR 72203-1229


     Vader Mountain Capital
     PO Box 227970
     Miami, FL 33222-7970
